     CASE 0:13-cv-03451-SRN-HB Document 3032 Filed 01/11/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust                      Court File No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:
                                                       STIPULATION OF DISMISSAL WITH
Residential Funding Company, LLC v. First                        PREJUDICE
Guaranty Mortgage Corporation, No. 13-cv-3475


       The parties, by and through their undersigned counsel, hereby stipulate that this action is

and shall be dismissed in its entirety with prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), with each party to bear its own attorneys’ fees, costs, and expenses.




                                                 1
       CASE 0:13-cv-03451-SRN-HB Document 3032 Filed 01/11/18 Page 2 of 3



Dated: January 11, 2018

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                                              2
      CASE 0:13-cv-03451-SRN-HB Document 3032 Filed 01/11/18 Page 3 of 3



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                                            3
